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                                    IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                             NORTHERN DIVISION



            DISABILITY RIGHTS MISSISSIPPI, LEAGUE
            OF WOMEN VOTERS OF MISSISSIPPI,
            WILLIAM EARL WHITLEY, MAMIE                                                      5
            CUNNINGHAM, and YVONNE GUNN,

                                               Plaintiffs,

                                      v.                              Civil Action No.

            LYNN FITCH, in her official capacity as
            Attorney General of the State of Mississippi;
            MICHAEL D. WATSON, JR., in his official
            capacity as Secretary of State of Mississippi;
            GERALD A. MUMFORD, in his official capacity
            as Hinds County Attorney; and ELIZABETH
            AUSBERN, in her official capacity as Chickasaw
            County Attorney;

                                               Defendants.



               DECLARATION OF MARGARET CIRALDO ON BEHALF OF THE LEAGUE OF
                               WOMEN VOTERS OF MISSISSIPPI
                    Pursuant to 28 U.S.C. § 1746, I, Margaret Ciraldo, declare as follows:

                1. I am over the age of 18, and I am competent to make this declaration. I provide this

                    declaration based upon my personal knowledge. I would testify to the facts in this

                    declaration under oath if called upon to do so.

                2. The League of Women Voters of Mississippi (“LWV-MS” or “the League”) is a plaintiff

                    in the above captioned case.
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                3. I am the co-president of the LWV-MS. In my capacity as co-president of LWV-MS, I am

                    familiar with—and receive frequent updates and proposals for—the activities of LWV-

                    MS.

                4. LWV-MS was founded in the 1920s and is a non-partisan, member-based, grassroots

                    organization. Most of the League’s work is made possible by volunteers.

                5. LWV-MS is the Mississippi affiliate of the League of Women Voters of the United States

                    (“LWVUS”). LWV-MS is a nonprofit 501(c)(4) membership organization.

                6. The LWV-MS is a nonpartisan civic organization that neither supports nor opposes any

                    political party or candidate.

                7. The mission of LWV-MS is to improve governance in Mississippi by engaging all

                    Mississippians in the decisions that impact their lives. LWV-MS seeks to bring citizens

                    into the civic process through community outreach and capacity building, voter registration

                    and education, and community-oriented policy advocacy. LWV-MS believes that hands on

                    work to safeguard democracy leads to civic improvement.

                8. LWV-MS has five local Leagues: East-Central Mississippi (serving Meridian and

                    Lauderdale County), Jackson-Area (serving Hinds, Madison, and Rankin Counties),

                    Mississippi Gulf Coast (serving Hancock, Harrison, and Jackson Counties), Oxford-North

                    Mississippi (serving Marshall, Union, Pontotoc, Calhoun, Yalobusha, Panola, Tate,

                    Benton, Lee, and Desoto Counties), and Pine Belt (serving Hattiesburg and the surrounding

                    area, Forrest, Jones, Covington, Pearl River, Jasper, Jefferson Davis, Marion, Smith,

                    Simpson, Stone and Lamar Counties). Each local League is a member of the state League,

                    and every local League member is a member of the state League.
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                9. LWV-MS has approximately 197 members, living in various communities across the state.

                    At least one member has voted by mail.

                10. LWV-MS regularly conducts voter service projects, including voter registration drives and

                    other events. Local Leagues lead much of the LWV-MS’s voter services work and local

                    League members are essential to accomplishing voter services project goals.

                11. We promote VOTE411.org, a national initiative of the League of Women Voters Education

                    Fund (“LWVEF”). VOTE411.org is designed to provide all voters with the information

                    they need to successfully participate in every election (local, state, and federal) because the

                    League believes that laws and policies should reflect the values of the community.

                    VOTE411.org also offers a Ballot Lookup Tool for voters to enter their addresses to find

                    their local polling place and create a personalized voter guide to take with them on election

                    day for in-person voting.

                12. LWV-MS promotes VOTE411.org in Mississippi by providing digital resources on voter

                    registration, voter ID, polling locations, and absentee voting. LWV-MS also compiles voter

                    guides for local races and offers this information to Mississippians by sending

                    questionnaires to candidates, making telephone calls, and conducting research through

                    electronic platforms.

                13. Part of this advocacy is making sure Mississippi voters are able to navigate the process for

                    absentee voting. We do this by creating physical and online materials to educate our

                    members and Mississippi voters. Because of the criminal penalties of S.B. 2358, we now

                    have to create new materials to warn voters about this law. Because S.B. 2358 does not

                    clearly define who is authorized to return ballots, we will also have to expend time and
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                    resources to warn its member not to return any ballots at all—even if the member might be

                    authorized—because of the high risk of imprisonment and reputational harm to LWV-MS.

                14. We also have at least one member who, as far back as 2008, has assisted voters in jail with

                    registering and voting by mail, including by helping individuals return their ballots. This

                    member wants to continue to do this work and has reached out to a facility to inquire if the

                    League can assist voters in jail by helping to complete and return their ballots. However,

                    because of S.B. 2358, this member now fears they will be prosecuted if they assist a voter

                    by returning their ballot.

                15. I declare under penalty of perjury that the foregoing is true and correct.

                                30
                Executed this ____day of May 2023

                                                                          __________________________
                                                                                  Margaret Ciraldo
